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                         Exhibit 5
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  Bemærkninger til §23 Skt 1 Aktieavancebeskatningsloven - L78 fremsat den 16 november
                  2005 gennemført ved lov nr 1413 af 21 december 2005



                                            Til § 23

Til stk. 1
  Bestemmelsen fastslår, at gevinst og tab på aktier skal medregnes ved indkomstopgørelsen
efter realisationsprincippet.
  Gevinst og tab skal medregnes i det indkomstår, hvor realisationen sker, dvs. i det indkomstår,
hvor afståelsen, jf. definitionen i § 30, har fundet sted.
  Det afgørende for fastlæggelse af afståelsestidspunktet er, hvornår der foreligger en endelig
og bindende aftale om afståelsen. For aktier, der er handlet på børsen, vil det være børsnotaens
dato (handelsdatoen), der lægges til grund.
  Sker overdragelsen ved gave eller arveforskud, er det afgørende tidspunkt det tidspunkt, hvor
modtageren underrettes.
  For så vidt angår likvidationsudlodninger i det kalenderår, hvori selskabet endeligt opløses,
er tidspunktet for selve udlodningen og ikke beslutningen om likvidation eller selskabets
endelige opløsning afgørende for fastlæggelsen af afståelsestidspunktet.
  Reglen om, at det er udlodningstidspunktet, der er afgørende for fastlæggelsen af
afståelsestidspunktet, gælder, når der er tale om en solvent likvidation, og der dermed sker en
udlodning til aktionærerne. Er der tale om opløsning af selskabet, uden at der sker en udlodning
(konkurs eller tvangsopløsning), er det tidspunktet for selskabets endelige opløsning, der er
afgørende for fastlæggelsen af afståelsestidspunktet.
  Derudover kan fastlæggelsen af erhvervelsestidspunktet have en betydning, f.eks. i
forbindelse med ny lovgivning. Også her er det afgørende, hvornår der foreligger en endelig og
bindende aftale om erhvervelsen. For aktier, der er handlet på børsen, vil det være børsnotaens
dato (handelsdatoen), der lægges til grund.
  Sker overdragelsen ved gave eller arveforskud, er det afgørende tidspunkt underretningen af
modtageren. Ved arv anses aktierne for erhvervet på udlodningstidspunktet, medmindre
aktierne udloddes med succession.
  Er der tale om aktier, som tegnes i forbindelse med stiftelsen af et selskab, anses aktierne for
anskaffet ved stiftelsen af selskabet. I de tilfælde, hvor selskabet stiftes med tilbagevirkende
kraft, anses aktierne dog for anskaffet på tidspunktet for stiftelsesoverenskomstens underskrift.
  For aktier, der ikke er omfattet af §§ 8-9 (almindelige aktier ejet af selskaber m.v.), foreslås
en ændring af erhvervelsestidspunktet for så vidt angår:
1) tildelte tegningsretter med adgang til tegning til favørkurs,
2) aktier, der erhverves til favørkurs på grundlag af tildelte tegningsretter,
3) tildelte aktieretter,
4) aktier, der erhverves ved udnyttelse af tildelte aktieretter, og
5) aktier, der erhverves på grundlag af købte aktie- og tegningsretter.
  For tildelte retter m.m. ændres erhvervelsestidspunktet fra moderaktiens
erhvervelsestidspunkt til tildelingen/tegningen/udnyttelsen. De gældende regler, jf. § 5, stk. 3
og 4, samt § 6, stk. 5, i den nuværende aktieavancebeskatningslov, om samme
erhvervelsestidspunkt som moderaktien videreføres således ikke for denne kategori af aktier.
For aktier erhvervet på grundlag af købte retter ændres erhvervelsestidspunktet fra
købstidspunktet til tegningen/udnyttelsen.
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   Baggrunden for ændringen er den foreslåede ændring af reglen om ejertid, dvs. for personer
ophævelsen af den forskellige skattemæssige behandling af gevinst og tab alt efter om aktierne
havde været ejet i mindre end tre år eller i tre år eller mere. Når reglen om ejertid for personer
ophæves, så er begrundelsen for at tillægge ejertid tilbage i tid ikke længere til stede. Ændringen
vil derudover også medføre en større sammenhæng mellem anskaffelsestidspunkt og adgangen
til at anvende indgangsværdier. De gældende regler har således ført til den konstruktion, at
fondsaktier, der er erhvervet efter den 19. maj 1993 på grundlag af aktier erhvervet før den 19.
maj 1993, nok anses for erhvervet før den 19. maj 1993 (samtidig med moderaktien), men uden
adgang til at anvende handelsværdien den 19. maj 1993 i stedet for anskaffelsessummen.
   For aktier, der ikke er omfattet af §§ 8-9 (almindelige aktier ejet af selskaber m.v.) gælder
herefter følgende:
   Erhverves aktierne i forbindelse med en forhøjelse af selskabets kapital, anses aktierne for
erhvervet ved tegningen. Tegningstidspunktet vil i almindelighed være det tidspunkt, hvor
generalforsamlingen eller eventuelt bestyrelsen efter generalforsamlingens bemyndigelse har
truffet beslutning om udvidelse af aktiekapitalen.
   Tildelte tegningsretter anses for anskaffet på retserhvervelsestidspunktet. Dette vil normalt
være det tidspunkt, hvor generalforsamlingen eller bestyrelsen efter generalforsamlingens
bemyndigelse træffer beslutning om tildeling af tegningsretter. Er tildelingen suspensivt
betinget, udskydes retserhvervelsestidspunktet til det tidspunkt, hvor betingelserne er opfyldt.
Aktier, der erhverves ved udnyttelse af tildelte tegningsretter, anses for erhvervet ved
tegningen.
   Tildelte aktieretter anses for anskaffet på retserhvervelsestidspunktet. Aktier, der erhverves
ved udnyttelse af tildelte aktieretter, anses for erhvervet ved udnyttelsen.
   Købte aktie- eller tegningsretter anses for anskaffet ved købet af aktie- eller tegningsretterne.
Aktier, der erhverves ved udnyttelse af disse retter, anses for erhvervet ved
udnyttelsen/tegningen.
   Købte tegningsretter til konvertible obligationer og købte konvertible obligationer anses for
erhvervet ved købet. Konvertible obligationer, der erhverves ved udnyttelse af en tildelt
tegningsret og konvertible obligationer, der erhverves ved udnyttelse af en købt ret til at tegne
konvertible obligationer, anses for erhvervet på udnyttelsestidspunktet. Erhverves den
konvertible obligation i forbindelse med udstedelsen, uden at dette sker ved udnyttelse af en
tegningsret, anses den konvertible obligation for erhvervet ved udstedelsen. Aktier, der
erhverves ved konvertering af konvertible obligationer, anses for erhvervet på
konverteringstidspunktet.
   For tildelte tegningsretter til konvertible obligationer gælder det samme som for tildelte
tegningsretter til aktier.
   For aktier, der er omfattet af §§ 8-9 (almindelige aktier ejet af selskaber m.v.), gælder stadig
følgende:
   Erhverves aktierne i forbindelse med en forhøjelse af selskabets kapital til en kurs, der svarer
til eller ligger over aktiernes markedskurs, anses aktierne for erhvervet ved tegningen. Sker
kapitalforhøjelsen til favørkurs, anses aktier, der erhverves på grundlag af tildelte
tegningsretter, for erhvervet samtidig med den eller de moderaktier, som retten og dermed
aktien knytter sig til.
   Tildelte tegningsretter til aktier anses for erhvervet på samme tidspunkt som den eller de
moderaktier, retten knytter sig til, såfremt tegningsretten giver ret til tegning af aktier til
favørkurs, jf. § 10. Andre tildelte tegningsretter til aktier anses for anskaffet på
retserhvervelsestidspunktet.
   Tildelte aktieretter og aktier, der erhverves ved udnyttelse af tildelte aktieretter, anses for
erhvervet på samme tidspunkt som den eller de moderaktier, retten knytter sig til, jf. § 10.
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   Købte aktie- eller tegningsretter og aktier, der erhverves ved udnyttelse af disse retter, anses
for anskaffet ved købet af aktie- eller tegningsretterne. Hvis aktie- eller tegningsretter anskaffes
til supplering af tildelte retter, anses en forholdsmæssig del af de nye aktier for erhvervet ved
anskaffelse af den yderligere ret.
   Købte tegningsretter til konvertible obligationer og købte konvertible obligationer anses for
erhvervet ved købet. Konvertible obligationer, der erhverves ved udnyttelse af en tildelt
tegningsret, anses for erhvervet på samme tidspunkt som moderaktien. Konvertible
obligationer, der erhverves ved udnyttelse af en købt ret til at tegne konvertible obligationer,
anses for erhvervet på tidspunktet for købet af tegningsretten. Erhverves den konvertible
obligation i forbindelse med udstedelsen, uden at dette sker ved udnyttelse af en tegningsret,
anses den konvertible obligation for erhvervet ved udstedelsen. Aktier, der erhverves ved
konvertering af konvertible obligationer, anses for erhvervet på samme tidspunkt som den
konvertible obligation.
   For tildelte tegningsretter til konvertible obligationer gælder det samme som for tildelte
tegningsretter til aktier.
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     Comments on § 23, para. 1 of the Danish Capital Gains Tax Act – L78 submitted on
       November 16, 2005 and implemented by Act no. 1413 of December 21, 2005



                                               Ad § 23

Ad para. 1
  The provision determines that gains and losses on shares must be included in the statement of
income according to the realization principle.
  Gains and losses must be included in the income year in which the realization takes place, i.e.
in the income year in which the sale, cf. definition in § 30, has taken place.
  The determining factor for the determination of the date of sale is the date on which a final
and binding sales agreement is in place. For shares traded on the stock exchange, this will be
the date of the sale note (trading date).
  If the transfer takes place as a gift or advance on inheritance, the crucial date is the date on
which the recipient is informed.
  As regards liquidation dividends in the calendar year in which the company is finally
dissolved, the date of the distribution and not the decision to liquidate or the final dissolution
of the company is decisive for the determination of the date of sale.
  The rule that it is the date of distribution that is essential for determining the date of sale
applies in the case of solvent liquidation which involves a distribution to shareholders. If the
company is dissolved without a distribution (bankruptcy or compulsory dissolution), it is the
date of the company’s final dissolution which determines the date of sale.
  In addition, the determination of the date of acquisition may be significant, e.g. in the event
of new legislation. In this event, it is also crucial that a final and binding agreement on the
acquisition should be in place. For shares traded on the stock exchange, this will be date of the
sale note (trading date).
  If the transfer takes place as a gift or advance on inheritance, the crucial date is the notification
to the recipient. In the case of inheritance, shares are deemed to have been acquired on the date
of distribution, unless the shares are distributed by succession.
  In the case of shares that are acquired as part of the formation of a company, the shares are
deemed to have been acquired on the date of formation of the company. In cases where the
company is formed retroactively, the shares are deemed to have been acquired on the date of
signature of the formation document.
  For shares not covered by §§ 8-9 (ordinary shares owned by companies, etc.), a change of the
date of acquisition is proposed as regards:
1) awarded subscription rights with access to subscription at a special price
2) shares acquired at a special price on the basis of allocated subscription rights
3) allocated share rights
4) shares acquired on the exercise of allocated share rights
5) shares acquired on the basis of purchased share and subscription rights
  For allocated rights etc., the acquisition date is changed from the date of acquisition of the
parent share to that of the allocation/subscription/exercise. The applicable rules, cf. § 5, paras.
3 and 4, as well as § 6, para. 5, contained in the current Danish Capital Gains Tax Act, for the
same acquisition date as the parent share will not continue to apply to this category of share.
For shares acquired on the basis of purchased rights, the acquisition date will be changed from
the date of acquisition to the date of subscription/exercise.
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  The reason for the change is the proposed change to the rule on ownership period, i.e. for
individuals the abolition of the different tax treatment of gains and losses depending on whether
the shares had been owned for less than three years or for three years or more. When the rule
on ownership period for individuals is lifted, then the basis for adding ownership retroactively
is no longer present. The change will also lead to a greater correlation between acquisition date
and access to apply entry values. The rules in force have therefore led to the construction that
bonus shares acquired after May 19, 1993 on the basis of shares acquired before May 19, 1993
are probably considered to have been acquired before May 19, 1993 (at the same time as the
parent share), but without access to apply the commercial value on May 19, 1993 instead of the
purchase price.
  For shares not covered by §§ 8-9 (ordinary shares owned by companies etc.), the following
will apply:
  If shares are acquired as part of an increase of the company’s capital, the shares are deemed
to have been acquired on the date of subscription. The date of the subscription will generally
be the date on which the general meeting or, if applicable, the board of directors with the
authorization of the general meeting decided to increase the share capital.
  Allocated subscription rights are regarded as having been acquired on the date of acquisition
of the rights. This will usually be the date on which the general meeting or, if applicable, the
board of directors with the authorization of the general meeting decided to allocate subscription
rights. If the allocation is conditional, the date of acquisition of the rights will be deferred until
the date on which the conditions have been met. Shares acquired through the exercise of
allocated subscription rights are regarded as having been acquired on the subscription date.
  Allocated shares are deemed to have been acquired on the date of acquisition of the rights.
Shares acquired through the exercise of allocated share rights are regarded as having been
acquired on the date of exercise.
  Purchased share or subscription rights are deemed to have been acquired on the date of
purchase of the shares or subscription rights. Shares acquired through the exercise of these
rights are deemed to have been acquired on the date of exercise/subscription.
  Purchased subscription rights for convertible bonds and purchased convertible bonds are
deemed to have been acquired on the date of purchase. Convertible bonds acquired through the
exercise of allocated subscription rights and convertible bonds acquired through the exercise of
a right to subscribe for convertible bonds are deemed to have been acquired on the date of
exercise. If convertible bonds are acquired in connection with the issue, without this being the
exercise of a subscription right, the convertible bonds are deemed to have been acquired on the
date of issue. Shares acquired through conversion of convertible bonds are deemed to have been
acquired on the date of conversion.
  For allocated subscription rights to convertible bonds, the same applies as for allocated
subscription rights to shares.
  For shares covered by §§ 8-9 (ordinary shares owned by companies, etc.), the following will
still apply:
  If the shares are acquired in connection with an increase in the company’s capital at a price
equal to or above the market price of the shares, the shares are considered to have been acquired
on the date of subscription. If the capital increase takes place at a special price, shares acquired
on the basis of allocated subscription rights are considered to have been acquired on the same
date as the parent share(s) with which the rights and thereby the share is linked.
  Allocated subscription rights to shares are regarded as having been acquired on the same date
as the parent share(s) with which the rights are linked, if the subscription rights give the right
to acquire shares at a special price, cf. § 10. Other allocated subscription rights to shares are
regarded as having been acquired on the date of acquisition of the rights.
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  Allocated share rights and shares acquired by exercising allocated subscription rights are
regarded as having been acquired on the same date as the parent share(s) to which the rights are
linked, cf. § 10.
  Purchased share or subscription rights and shares acquired by exercising these rights are
regarded as having been acquired on the date of purchase of the share or subscription rights. If
share or subscription rights are acquired to supplement allocated rights, a proportional part of
the new shares are regarded as having been acquired on the date of acquisition of the additional
rights.
  Purchased subscription rights to convertible bonds and purchased convertible bonds are
considered to have been acquired on the date of purchase. Convertible bonds acquired through
the exercise of an allocated subscription right are deemed to have been acquired on the same
date as the parent share. Convertible bonds acquired through the exercise of a purchased right
to acquire convertible bonds are considered to have been acquired on the date of purchase of
the subscription right. If convertible bonds are acquired in connection with the issue, without
this being the exercise of a subscription right, the convertible bonds are deemed to have been
acquired on the date of issue. Shares acquired through conversion of convertible bonds are
deemed to have been acquired on the same date as the convertible bond.
  For allocated subscription rights to convertible bonds, the same applies as for allocated
subscription rights to shares.
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